09-01198-mew       Doc 145       Filed 07/09/10     Entered 07/09/10 16:58:32          Main Document
                              Hearing Date & Pg
                                             Time: August
                                                 1 of  28 5, 2010 at 11:00 AM (Prevailing Eastern Time)
                                   Objection Deadline: July 23, 2010 at 4:00 PM (Prevailing Eastern Time)



Melanie Gray (admitted pro hac vice)                    Richard A. Rothman (RR 0507)
Lydia Protopapas (LP 8089)                              Bruce S. Meyer (BM 3506)
Jason W. Billeck (admitted pro hac vice)                Lori L. Pines (LP 3005)
WEIL, GOTSHAL & MANGES LLP                              WEIL, GOTSHAL & MANGES LLP
700 Louisiana, Suite 1600                               767 Fifth Avenue
Houston, Texas 77002                                    New York, New York 10153
Telephone: (713) 546-5000                               Telephone: (212) 310-8000
Facsimile: (713) 224-9511                               Facsimile: (212) 310-8007

James J. Dragna (admitted pro hac vice)                 Duke K. McCall, III (admitted pro hac vice)
BINGHAM MCCUTCHEN LLP                                   BINGHAM MCCUTCHEN LLP
355 South Grand Avenue, Suite 4400                      2020 K Street, NW
Los Angeles, California 90071                           Washington, DC 20006
Telephone: (213) 680-6400                               Telephone: (202) 373-6000
Facsimile: (213) 680-6499                               Facsimile: (202) 373-6001

Counsel for Anadarko Petroleum
Corporation and Kerr-McGee Corporation


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                             Chapter 11

TRONOX INCORPORATED, et al.,                      Case No. 09-10156 (ALG)

                   Debtors.                       Jointly Administered


TRONOX INCORPORATED, TRONOX
WORLDWIDE LLC f/k/a Kerr-McGee
Chemical Worldwide LLC, and TRONOX
LLC f/k/a Kerr-McGee Chemical LLC,

                   Plaintiffs,                    Adversary Proceeding No. 09-01198 (ALG)

              v.

ANADARKO PETROLEUM
CORPORATION AND KERR-MCGEE
CORPORATION,

                   Defendants.
09-01198-mew    Doc 145    Filed 07/09/10 Entered 07/09/10 16:58:32   Main Document
                                       Pg 2 of 28




THE UNITED STATES OF AMERICA,

                Plaintiff-Intervenor,

           v.

TRONOX, INC., TRONOX
WORLDWIDE LLC, TRONOX LLC,
KERR-MCGEE CORPORATION, and
ANADARDKO PETROLEUM
CORPORATION,

                Defendants.


           MEMORANDUM OF LAW IN SUPPORT OF MOTION BY
        DEFENDANTS ANADARKO PETROLEUM CORPORATION AND
      KERR-MCGEE CORPORATION TO COMPEL THE PRODUCTION OF
  DOCUMENTS BY PLAINTIFF-INTERVENOR THE UNITED STATES OF AMERICA
09-01198-mew             Doc 145           Filed 07/09/10 Entered 07/09/10 16:58:32                                Main Document
                                                       Pg 3 of 28



                                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .....................................................................................................1

BACKGROUND .............................................................................................................................4

          A.         Defendants’ Requests for the Production of Documents.........................................4

          B.         The Dispute Over the Government’s Document Production...................................6

          C.         Defendants’ Efforts to Resolve this Dispute..........................................................10

ARGUMENT.................................................................................................................................16

          I.         THE GOVERNMENT HAS FAILED TO PRODUCE
                     DOCUMENTS CONSISTENT WITH ITS DISCOVERY
                     OBLIGATIONS UNDER RULE 34 .....................................................................16

          II.        THE GOVERNMENT’S ARGUMENT REGARDING THE
                     BREADTH OF THE RFPS IS UNAVAILING.....................................................20

          III.       DEFENDANTS SHOULD BE AWARDED THEIR ATTORNEYS’
                     FEES IN CONNECTION WITH THIS MOTION TO COMPEL ........................21

CONCLUSION..............................................................................................................................22
09-01198-mew               Doc 145           Filed 07/09/10 Entered 07/09/10 16:58:32                                   Main Document
                                                         Pg 4 of 28



                                                 TABLE OF AUTHORITIES


CASES

Chemtex, LLC v. St. Anthony Enters., Inc.,
      No. 03-cv-4263, 2004 WL 764781 (S.D.N.Y. Apr. 9, 2004) ......................................19, 20

Fund Comm’n Serv., II, Inc. v. Westpac Banking Co.,
      No. 93-cv-8298, 1996 WL 469660 (S.D.N.Y. Aug. 16, 1996)..........................................22

JSC Foreign Economic Ass’n Technostroyexport v. Int’l Dev. & Trade Servs., Inc.,
      No. 03-cv-5562, 2005 WL 1958361 (S.D.N.Y. Aug. 16, 2005)........................................22

S.E.C. v. Collins & Aikman Corp.,
       256 F.R.D. 403 (S.D.N.Y. 2009) ............................................................................... passim

Standard Dyeing & Finishing Co. v. Arma Textile Printers Corp.,
       No. 85-cv-5399, 1987 WL 6905 (S.D.N.Y. Feb. 10, 1987) ........................................19, 20

Stiller v. Arnold,
         167 F.R.D. 68 (N.D. Ill. 1996)...........................................................................................19

T.N. Taube Corp. v. Marine Midland Mortgage Corp.,
       136 F.R.D. 449 (W.D.N.C. 1991)......................................................................................19


STATUTES AND OTHER AUTHORITIES

Fed. R. Civ. P. 11...............................................................................................................................

Fed. R. Civ. P. 34................................................................................................................... passim

Fed. R. Civ. P. 37.................................................................................................................1, 21, 22

Fed. R. Bankr. P. 7034...............................................................................................................1, 22

Fed. R. Bankr. P. 7037.........................................................................................................1, 21, 22

Fed. R. Evid. 803(6).......................................................................................................................18

2 Michael C. Silberberg et al., Civil Practice in the Southern District of New York
§ 22:14 (2d ed. 2009) .....................................................................................................................19




                                                                       ii
09-01198-mew       Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32               Main Document
                                            Pg 5 of 28



                Defendants Anadarko Petroleum Corporation (“Anadarko”) and Kerr-McGee

Corporation (“Kerr-McGee”), a wholly owned subsidiary of Anadarko (collectively,

“Defendants”), hereby submit this Memorandum in Support of their Motion to Compel the

production of documents by Plaintiff-Intervenor the United States of America (the

“Government”) pursuant to Rules 7034 and 70371 of the Federal Rules of Bankruptcy Procedure

(“Bankruptcy Rules”).

PRELIMINARY STATEMENT

                This motion to compel is necessitated by the Government’s failure to comply with

its discovery obligations under Rule 34 of the Federal Rules of Civil Procedure (“Rule 34”),

incorporated by reference in Rule 7034 of the Bankruptcy Rules. Defendants have served two

sets of requests for the production of documents (“RFPs”) on the Government with a total of 167

distinct requests. Notwithstanding the fact that the first RFPs were served over ten months ago,

the Government still has failed to produce documents responsive to many of Defendants’ RFPs,

including those pertaining to key aspects of the Government’s claims and Defendants’ defense

thereto. At the parties’ recent “meet and confer” conferences, Defendants’ inquiries regarding

the ignored RFPs were largely met with the response of “we’ll look into it,” without any

commitment to produce responsive documents or provide a time frame for doing so. This is

unacceptable, particularly in light of how long ago the RFPs were served.

                Perhaps the most egregious example of the Government’s deficient document

production has been its production of only five boxes of documents concerning its alleged $4.4

billion claim relating to at least 70 supposed mining sites, which are among over 600 mining


1
       Rule 37 of the Federal Rules of Civil Procedure (“Rule 37”) is incorporated by reference into
Bankruptcy Rule 7037.
09-01198-mew       Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32               Main Document
                                            Pg 6 of 28



sites that were allegedly contaminated. See McCall Decl. Ex. A2 (Second RFP No. 65) (citing

Proofs of Claim of the United States of America, on Behalf of the United States Environmental

Protection Agency (Aug. 11, 2009)). These boxes obviously do not constitute a complete

production regarding these sites. Consequently, Defendants have not been able to even identify

the 600 sites,3 let alone ascertain anything about the alleged environmental liabilities associated

with them, including the aggregate amount of the Government’s claim for up to 530 of the sites.

These documents are obviously essential for Defendants to prepare their defense to this claim,

which the Government alleges could exceed $4.4 billion.

                Another striking example of the Government’s failure to produce documents

concerns its claims for reimbursement of over $300 million for cleanup at the Manville site, the

alleged centerpiece of the Government’s purported claims against Defendants. See McCall Decl.

Ex. B (First RFP No. 56). The Government has prosecuted certain individuals for a supposed

kick-back scheme involving the clean-up costs. See McCall Decl. Ex. C (Lorraine McCarthy,

Subcontractor Representative Pleads Guilty In Bid-Rigging Scheme at New Jersey Site, Daily

Env’t Rep. (Nov. 2, 2009)). To this date, however, the Government has not even collected or

reviewed, let alone produced, the requested documents regarding its investigation and

prosecution of these individuals, even though it is plain that Defendants cannot be held liable for

costs fraudulently inflated by the criminal activities of others.



2
       As used herein, “McCall Decl. Ex.” refers to exhibits accompanying the Declaration of Duke K.
McCall, III, sworn to July 9, 2010 and submitted together with this memorandum and motion.
3
        Nor has the Government, apparently. At the “meet and confers” held by the parties, the
Government could not commit to providing Defendants with a list of the 600 sites referenced in its Proofs
of Claim. The Government’s inability to do so raises the question of how it made these allegations
consistent with its obligations under Rule 11.




                                                    2
09-01198-mew       Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32              Main Document
                                            Pg 7 of 28



                Furthermore, the Government’s purported paper “production” to date has been in

abject disregard of its discovery obligations under Rule 34. As Judge Scheindlin recently held in

S.E.C. v. Collins & Aikman Corp., 256 F.R.D. 403 (S.D.N.Y. 2009), Rule 34 requires the

Government to produce documents labeled and sorted in a manner corresponding to the RFPs.

Notwithstanding the Collins decision and other clear authority brought to the Government’s

attention by Defendants, the Government believes that it can satisfy its discovery obligations by

(1) providing Defendants with purported “indices” to its various storage and other facilities that

vaguely describe the contents of boxes and stacks of documents possibly responsive to a limited

subset of the RFPs, i.e., those relating to certain of the EPA sites at issue in this case, and (2)

opening the doors to these facilities to permit Defendants to search for this limited subset of

responsive documents themselves. Indeed, it appears that no one from the Government has

actually reviewed the vast majority of the documents supposedly “produced” in this manner to

determine whether or not they are in fact responsive to the RFPs. Rather, the Government has

concluded, based on a seemingly deliberate over-reading of the RFPs, that all of the documents it

has made available are responsive. The plain language of the RFPs, however, shows they are

targeted at specific documents, and thus the Government’s interpretation is untenable. The

shortcomings of the Government’s approach to document production in this case have been

confirmed by Defendants’ attorneys, who have spent numerous hours at two of the

Government’s storage facilities wading through piles of unresponsive materials in an effort to

identify the documents Defendants actually asked for. Under Rule 34, this is the Government’s

obligation, not Defendants’.

                The Complaint in Intervention filed by the Government (the “Intervenor

Complaint”) seeks hundreds of millions of dollars in damages, and the facts alleged therein



                                                   3
09-01198-mew      Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32             Main Document
                                           Pg 8 of 28



regarding purported clean-up costs are the supposed basis for multi-billion dollar claims against

Defendants in this litigation. Yet, the Government seems to be completely unprepared to meet

the most basic discovery requirements of a party to litigation in federal court by producing the

documents supporting its allegations. Its failure to do so has impeded Defendants’ ability to

defend this litigation and caused significant delay. The Government’s protestations regarding

the burden associated with its discovery obligations are unavailing, particularly in light of the

millions of dollars expended thus far by Defendants on document discovery. Defendants

respectfully request their Motion to Compel be granted.

BACKGROUND

               The Intervenor Complaint alleges participation in a “scheme” by Defendants to

purportedly transfer certain liabilities of Kerr-McGee to Plaintiff Tronox, Inc. (“Tronox”) in

order to avoid certain environmental cleanup liabilities. The two main steps of the alleged

“scheme” were (1) a corporate reorganization called “Project Focus” and (2) numerous

transactions leading up to the initial public offering of Tronox. The Government asserts

fraudulent transfers with respect to a number of the transactions in the alleged “scheme,” which

allegedly left Tronox unable to pay for the liabilities. The Amended Case Management Order,

entered on March 22, 2010, provides that document productions should have been substantially

completed by March 31, 2010 and all fact discovery and all depositions of fact witnesses should

be completed by November 1, 2010. Yet, the Government has failed to produce documents

responsive to many of the twenty-one (21) separate RFPs seeking documents supporting the

allegations in the Intervenor Complaint.

A.     Defendants’ Requests for the Production of Documents

               Defendants served their First RFPs on August 10, 2009. See McCall Decl. Ex. B.

Defendants served their Second RFPs, see McCall Decl. Ex. A, on January 19, 2010.

                                                 4
09-01198-mew       Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32          Main Document
                                           Pg 9 of 28



Defendants’ document requests contain 167 separate RFPs, all relevant to the Government’s

allegations in this action, including the following:

               •   Documents pertaining to specific information requested regarding the alleged
                   environmental sites referenced in the Proofs of Claim and/or Intervenor
                   Complaint (including but not limited to information regarding potential
                   liability of third parties, ownership, contamination, remediation and damages
                   caused by toxic substances). See McCall Decl. Ex. B (First RFP Nos. 30, 35-
                   36, 39, 42-49, 51); McCall Decl. Ex. A (Second RFP Nos. 67-68).
               •   Documents pertaining to the supposed environmental liabilities including but
                   not limited to costs allegedly incurred by the Government in connection
                   therewith and the settlement or potential settlement thereof. See McCall Decl.
                   Ex. B (First RFP Nos. 31-32, 38).
               •   Documents pertaining to any actual or potential settlements or litigation
                   involving Tronox, Kerr-McGee or Anadarko. See McCall Decl. Ex. B (First
                   RFP Nos. 33-34, 49-50, 52-54).
               •   Documents pertaining to the allegations in the Intervenor Complaint regarding
                   Project Focus. See McCall Decl. Ex. B (First RFP Nos. 2-4, 9-11, 21-24, 26).
               •   Documents pertaining to post-Project Focus (2002-2005) (including the
                   attempted sale of Tronox). See McCall Decl. Ex. B (First RFP Nos. 12-13,
                   15-17, 24, 26).
               •   Documents pertaining to the allegations in the Intervenor Complaint regarding
                   the IPO/Spinoff of Tronox. See McCall Decl. Ex. B (First RFP Nos. 5, 18,
                   21, 25-29).
               •   Documents pertaining to specific environmental sites. See McCall Decl. Ex.
                   B (First RFP Nos. 14, 19, 32, 37, 40-41); McCall Decl. Ex. A (Second RFP
                   Nos. 56-58, 69-125, 127-62).
               •   Documents pertaining to the allegations in the Intervenor Complaint regarding
                   the history of Kerr-McGee and its successors. See McCall Decl. Ex. B (First
                   RFP Nos. 6-7).
               •   Documents pertaining to audits (including the IRS audit of Project Focus).
                   See McCall Decl. Ex. B (First RFP Nos. 41, 55); McCall Decl. Ex. A (Second
                   RFP No. 58).
               Notably, except in a few limited instances, the Government has not contested

Defendants’ right to any of the documents sought in the RFPs, which are directly relevant to the

issues raised in the Intervenor Complaint.




                                                  5
09-01198-mew       Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32              Main Document
                                           Pg 10 of 28



B.      The Dispute Over the Government’s Document Production

               The Government served its Responses and Objections to the First RFPs on

September 10, 2009. See McCall Decl. Ex. D. The Government served its Responses and

Objections to the Second RFPs on February 18, 2010. See McCall Decl. Ex. E. In its responses,

the Government asserted numerous boilerplate objections and blanket claims of privilege, but

only indicated that it would be withholding responsive document with respect to 5 of the 167

RFPs.

               Yet, the Government has failed to produce documents responsive to a significant

number of the RFPs, many of which are critical to this case. Indeed, the Government has

virtually ignored entire categories of RFPs, including but not limited to the following:4

               •   Documents concerning the Government’s criminal prosecutions of certain
                   individuals responsible for allegedly fraudulently overbilling for remediation
                   at the Manville site. See McCall Decl. Ex. B (First RFP No. 56).
               •   Documents concerning the allegations in the Proofs of Claim related to over
                   257 service stations currently or formerly owned and/or operated by Debtor or
                   an affiliate debtor, and/or by their corporate predecessors, in multiple
                   locations in the following states: AL, AR, FL, GA, IL, IN, LA, KS, KY, LA,
                   MO, NE, ND, OK, SD, TN, TX, VA, WI. See McCall Decl. Ex. A (Second
                   RFP No. 61).
               •   Documents concerning the allegations in the Proofs of Claim relating to
                   approximately 270 chemical manufacturing, fertilizer manufacturing,
                   R&D/Lab, agricultural chemical and other sites that were transferred to
                   Debtor or its affiliate debtors by Kerr-McGee Corporation through
                   transactions in late 2005 and early 2006. See McCall Decl. Ex. A (Second
                   RFP No. 63).
               •   Documents concerning the allegations in the Proofs of Claim relating to the
                   supposedly “Secret Sites” that were transferred to Debtor or its affiliate
                   debtors by Kerr-McGee Corporation through transactions in late 2005 and



4
      While Defendants dispute the Government’s allegations set forth below, they are entitled to the
documents the Government claims support them.




                                                   6
09-01198-mew   Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32             Main Document
                                      Pg 11 of 28



               2006, including sites located in Birmingham, AL and Rome, NY. See McCall
               Decl. Ex. A (Second RFP No. 64).
           •   Documents concerning the allegations in the Proofs of Claim relating to more
               than 600 mining-related sites owned and/or operated by Debtor or an affiliate
               debtor, and/or by their corporate predecessors, which are allegedly
               contaminated with hazardous substances within the meaning of CERCLA
               Section 101(14) and 102(a), 42 U.S.C. §§ 9601(14) and 9602(a), including but
               not limited to radioactive materials in soil and groundwater, at multiple
               locations in the following states: AR, AZ, CA, CO, FL, GA, ID, IL, KS, ME,
               MD, MI, WY. The Government further alleges the Environmental Protection
               Agency (“EPA”) estimates that the cleanup costs associated with at least 70 of
               these mines are in excess of $4.4 billion. See McCall Decl. Ex. A (Second
               RFP No. 65).
           •   Documents concerning the allegations in the Proofs of Claim relating to the
               EPA’s alleged estimate that Tronox LLC is subject to at least $2.5 million in
               civil penalties for the violations set forth in paragraphs 42 to 48 of the Proof
               of Claim against Tronox LLC. See McCall Decl. Ex. A (Second RFP No.
               126).
           •   Documents pertaining to the allegations in the Proofs of Claim and Intervenor
               Complaint regarding the Edgebrook Development Corporation. See McCall
               Decl. Ex. B (First RFP No. 41).
           •   Documents concerning the allegations in the Proofs of Claim relating to the
               Gulf States Creosoting Site (Hattiesburg, MS). See McCall Decl. Ex. A
               (Second RFP Nos. 60, 62).
           •   Documents pertaining to specific information requested regarding the alleged
               environmental sites referenced in the Proofs of Claim and/or Intervenor
               Complaint (including but not limited to information regarding potential
               liability of third parties, ownership, contamination, remediation and damages
               caused by toxic substances). See McCall Decl. Ex. B (First RFP Nos. 30, 35-
               36, 39, 42-49, 51); McCall Decl. Ex. A (Second RFP Nos. 67-68).
           •   Documents relating to the allegations in the Intervenor Complaint regarding
               Project Focus. See McCall Decl. Ex. B (First RFP Nos. 2-4, 9-11, 21-24, 26).
           •   Documents pertaining to the allegations in the Intervenor Complaint regarding
               post-Project Focus (2002-2005) (including the attempted sale of Tronox). See
               McCall Decl. Ex. B (First RFP Nos. 12-13, 15-17, 24, 26).
           •   Documents pertaining to the allegations in the Intervenor Complaint regarding
               the IPO/Spinoff of Tronox. See McCall Decl. Ex. B (First RFP Nos. 5, 18,
               21, 25-29).
           •   Documents pertaining to the allegations in the Intervenor Complaint regarding
               history of Kerr-McGee and its successors. See McCall Decl. Ex. B (First RFP
               Nos. 6-7).


                                             7
09-01198-mew       Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32             Main Document
                                          Pg 12 of 28



               •   Documents pertaining to any actual or potential settlements or litigation
                   involving Tronox, Kerr-McGee or Anadarko. See McCall Decl. Ex. B (First
                   RFP Nos. 33-34, 49-50, 52-54).
               •   Documents pertaining to audits (including the IRS audit of Project Focus).
                   See McCall Decl. Ex. B (First RFP Nos. 41, 55); McCall Decl. Ex. A (Second
                   RFP No. 58).
The Government’s failure to produce documents responsive to this extensive list of RFPs is

inexcusable. As a result of the Government’s failures, Defendants have not been able to

adequately defend against the Government’s claims that Defendants’ alleged “scheme” rendered

Tronox unable to pay for certain alleged legacy liabilities.

               Furthermore, with the exception of approximately 40,000 electronic documents (a

production so small in relation to the broad sweep of the Government’s claims, and

correspondingly, the RFPs, as to appear inadequate on its face), the Government has decided

that, rather than review its files for responsive documents and provide only responsive

documents to Defendants, it would give Defendants access to certain storage facilities and other

locations housing potentially responsive documents and force Defendants to search for

responsive documents themselves. Instead of labeling and sorting its documents to correspond to

the RFPs as required by Rule 34, the Government decided to provide Defendants with purported

“indices” that, with the arguable exception of a few indices initially provided, vaguely, and

sometimes illegibly, describe the contents of boxes, folders, or documents at various facilities.

As discussed further below, the production of selected “indices,” which did not even purport to

be responsive to many of the RFPs, does not suffice to meet the Government’s discovery

obligations, and, even if it did, the actual indices produced are useless in terms of enabling




                                                 8
09-01198-mew       Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32              Main Document
                                           Pg 13 of 28



Defendants to identify documents that are responsive to the RFPs.5 While Defendants originally

assented to the use of such “indices” in a good faith effort to cooperate with the Government, the

“index” system proved unworkable. See § C, infra.

               For example, one index relating to the Manville, New Jersey Site (the “Manville

Site”) purports to describe the contents of nine boxes as “Miscellaneous: Photos, Cost

Information, Meeting Minutes, Inspections, Property Files, Correspondence 2007, Remedial

Work Information, Government Property Inventory, Health History and Physical Exam

Information, Training Certificates, Newspaper Articles, Submittal Register Revisions, Fact

Sheets, Contracts Information, Certified Payroll, Budget.” See McCall Decl. Ex. F-54, at 2.

There is no way based upon this index that Defendants would be able to tell whether these

particular boxes contain responsive documents. Another Manville Site entry is for eighty-three

boxes containing “Quality Assurance Reports, Daily Log of Construction (includes Daily Site

Status Report, Daily Air Monitoring Data, Daily Security Logs, Site Sign-in Sheets,

Transportation Log, Health & Safety Sign-in sheets, Sevenson Labor and Equipment costs,

Tipping Receipts for Common Fill, Small item cost receipts).” See id. at 1. Defendants are not

required to sort through these eighty-three boxes to extract responsive documents.

               Notwithstanding the inability of the purported indices to provide useful

information, in an effort to cooperate with the Government and ascertain whether the issues

raised in this motion could be narrowed, Defendants visited two of the storage facilities

identified by the Government as housing responsive documents; what they found confirms the



5
       Attached as Exhibit F to the McCall Declaration is a chart describing Defendants’ RFPs and the
Government’s responses. The Government’s indices are attached as exhibits to Exhibit F, see, e.g.,
McCall Decl. Ex. F-1.




                                                  9
09-01198-mew      Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32           Main Document
                                          Pg 14 of 28



inadequacy of the Government’s production. On May 20 and 21, 2010, counsel for Defendants

visited the National Archives and Records Administration’s (“NARA’s”) facility in Lee’s

Summit, Missouri, at the behest of the Government. See Declaration of David M. Halverson

(“Halverson Decl.”), ¶ 3. The Government made available dozens of boxes of documents

concerning the Manville Site, but, given the content of the production, did not appear to have

reviewed its documents for responsiveness before tendering its “production.” As a result,

Defendants found that many of the documents at the facility were not responsive to the RFPs,

such as equipment inventory lists for the Manville Site, and paperwork related to the transfer of

the equipment between federal agencies and the sale or disposal of the equipment. Id.

               On June 3 and 4, 2010, counsel for Defendants visited the Government’s storage

facility at 290 Broadway Avenue in New York City. See Declaration of Jason E. Glass, ¶ 3. As

was the case at Lee’s Summit, the Government made available dozens of boxes of documents

supposedly concerning the Manville Site. Defendants once again found that many of the

documents were unresponsive to the RFPs, including chain of custody reports for soil samples,

bills of lading, and turn-by-turn directions and maps to disposal sites. Id.

               Even the Government’s electronic production likewise includes many

nonresponsive documents, including e-mails discussing vacation schedules or the timing of

meetings, corrupted files containing only meaningless text, and shipment details and tracking

information for UPS packages. See Halverson Decl. ¶ 4.

C.     Defendants’ Efforts to Resolve this Dispute

               Defendants made numerous efforts to resolve these disputes, but the Government

has adhered to a view of its discovery obligations that selectively ignores certain RFPs,

minimizes its own burden, maximizes the burden on Defendants, and leaves Defendants unable



                                                 10
09-01198-mew       Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32             Main Document
                                          Pg 15 of 28



to ascertain whether, and to what extent, its RFPs have been responded to, all in disregard of the

Government’s duties under Rule 34.

               After serving responses to Defendants’ RFPs in September 2009, the Government

had not produced a single document by December 2009. See Declaration of Jason W. Billeck, ¶

4. During a conference call on or about December 9, 2009, Defendants expressed their concerns

regarding the Government’s production. Id. The Government informed Defendants that, in

addition to its electronic documents, it had the equivalent of approximately 650 boxes that may

potentially contain responsive paper documents. Id. The Government declined to review these

documents itself and make available responsive documents. Instead, the Government proposed a

purported “index” production, whereby the Government would provide Defendants with detailed

indices of the documents contained at the various warehouses and other facilities where its

documents are stored. Id. Although this proposal clearly failed to satisfy the Government’s

discovery obligations under Rule 34, Defendants, in a good faith effort to cooperate in discovery,

did not initially object to this approach based on the Government’s representation that it would

provide detailed indices of all of the documents at the relevant facilities within one week of the

December 9, 2009 call. Id.

               Notwithstanding the Government’s representations on the December 9, 2009 call,

Defendants waited until January 15, 2010 to receive the first indices. See McCall Decl. ¶ 16. As

these initial indices contained sufficient detail to allow Defendants to identify potentially

responsive documents, Defendants, in an good faith effort to cooperate with the Government,

attempted to utilize these indices to narrow their search for responsive documents. Id. However,

this process quickly broke down and the Government began to provide indices that were

uniformly vague, overbroad, sometimes illegible, incomplete and absolutely useless for the



                                                 11
09-01198-mew      Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32           Main Document
                                         Pg 16 of 28



intended purpose of enabling Defendants to identify documents responsive to the RFPs. Id.

Over the course of a ten-week period beginning in mid-January, the Government sent dozens of

such indices and pressed Defendants to conduct their review based thereon. Id. In the spirit of

cooperation, Defendants promptly reviewed the indices and attempted to identify documents

responsive to the RFPs in a timely fashion. Id.

               Thus, despite Defendants’ best efforts, the “index” system proved unworkable.

The indices did not provide enough useful information to enable Defendants to identify whether

any particular box contained documents responsive to the RFPs. Id. Contrary to the intent and

purpose of Rule 34, Defendants were left with no choice but to make guesses regarding what

boxes might contain responsive documents and conduct the review themselves. Id. Moreover,

the Government’s method of production made it impossible for the Defendants to assess

whether, and to what extent, each and every one of their 167 RFPs had been fully responded to.

To this day, the Government has never claimed to have done so. See McCall Decl. ¶ 18. Nor

can it; as demonstrated above, it is clear that many RFPs have been ignored. Moreover, the

Government does not appear to have fully searched the working files and computers of all

relevant personnel, a shortcoming made more apparent by the paucity of the Government’s initial

electronic production.

               Realizing that the Government’s alleged production amounted to nothing short of

a shift of its discovery obligations onto the Defendants and provided a smokescreen for

incomplete production, Defendants notified the Government in a letter dated April 21, 2010 that

its purported “index” production was in violation of its discovery obligations under Rule 34. See

McCall Decl. Ex. G. Citing Collins, Defendants requested that the Government comply with its

obligation to make available organized and labeled responsive documents according to the RFPs.



                                                  12
09-01198-mew       Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32              Main Document
                                          Pg 17 of 28



Alternatively, Defendants offered to enter into a discovery agreement with the Government,

similar to the process implemented between Defendants and Tronox, whereby the Government

could produce documents responsive to Defendants’ RFPs in an agreed-upon, searchable,

electronic format. In a responsive letter dated April 28, 2010, the Government disregarded the

merits of Defendants’ April 21 letter, ignored the extensive list of RFPs to which the

Government had failed to respond, and simply summarized its discovery efforts to date

(tellingly, never actually claiming to have made all responsive documents available). See

McCall Decl. Ex. H.

               In a second letter to the Government, dated May 3, 2010, Defendants reiterated

the demands set forth in Defendants’ April 21 letter and emphasized the apparent inadequacy of

the Government’s electronic production. See McCall Decl. Ex. I. In response, in an email dated

May 7, 2010, the Government directly contradicted the position it took during the December 9

call by stating that it “never promised to provide detailed indices for the entirety of the

Government’s hard copy documents or even a subset of it.” See McCall Decl. Ex. J. Once

again, the Government completely failed to respond to Defendants’ position that the

Government’s purported “index” production failed to comply with its obligations under Rule 34.

               In a third letter, dated May 10, 2010, Defendants once again noted the

deficiencies in the Government’s production and its failure to address these issues in its prior

correspondence. See McCall Decl. Ex. K. In response, in a letter dated May 12, 2010, the

Government erroneously claimed that the Government’s production reflected an agreement

between the parties, and took the position that, “even though not required to do so, [it] provided

Defendants with numerous detailed indices or other descriptions of documents concerning the

state and federal environmental sites relevant to this action.” See McCall Decl. Ex. L. Rather



                                                 13
09-01198-mew      Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32            Main Document
                                         Pg 18 of 28



than attempt to address Collins head on, it simply misconstrued it by arguing that the Collins

decision does not require the Government to produce documents in electronic format – a position

regarding Collins that Defendants never asserted – and that it was otherwise in compliance with

Rule 34.

               On May 25, 2010, Defendants and the Government held a “meet and confer”

conference. See McCall Decl. ¶ 17. Defendants summarized the deficiencies in the

Government’s purported index production, including the fact that the Government did not even

respond to dozens of Defendants’ RFPs and that the Government’s indices were not detailed and

did not help Defendants identify responsive documents. The Government attempted to excuse its

conduct by maintaining that it has the right to produce the documents as they are maintained and

that its production is appropriate because Defendants’ RFPs are overbroad. Id. After hearing

Defendants’ objections, the Government “took under advisement” Defendants’ concerns and the

parties agreed to a second “meet and confer.” Id. Defendants requested that, at the next

meeting, the Government be prepared to go through each of the RFPs and advise Defendants: (1)

whether the Government was in possession of documents responsive to each RFP; (2) the

process by which it reached that determination; and (3) whether the Government would be

producing the responsive documents. The Government agreed to do so. Id.

               The parties met again on June 3, 2010. See McCall Decl. ¶ 18. The Government

described its process for responding to Defendants’ RFPs generally, which involved a review of

the RFPs by the specific attorneys responsible for prosecuting this action and forwarding the

RFPs to the various agencies identified in the RFPs for review and discussion. Id. According to

the Government, by this process, it concluded that the RFPs were so broad as to justify its

purported production of all environmental site-related documents at various storage facilities



                                                14
09-01198-mew        Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32              Main Document
                                           Pg 19 of 28



around the country. Id. Notably, the Government declined to answer the Defendants’ question

of whether anyone had actually reviewed all of the documents at the various storage facilities for

responsiveness to the RFPs. Id. When presented with several examples of documents

Defendants found at the two storage locations which were clearly not responsive to the RFPs, the

Government posited the (plainly incorrect) view that documents such as federal express tracking

slips and inventories of equipment at the storage facilities themselves were in fact called for by

the RFPs.6 Id.

                 The Government offered no credible argument or legal basis to justify its

approach to discovery, which flies in the face of well-settled authority, including the Collins

decision. Moreover, it became clear at the June 3 “meet and confer” that the Government’s

efforts fell short of even its own flawed interpretation of its duties under Rule 34. For example,

the Government explained that as of June 3, many agencies had not yet fully determined whether

they possess responsive documents, and the attorneys responsible for this case still needed to

follow up with many of them. Id. Defendants advised the Government that, unless the

Government would undertake a comprehensive search and review of its files for responsive

documents to each RFP, the instant motion to compel would be filed. The Government declined

to do so, reiterating that its efforts to date were sufficient and any further collection efforts would

be unduly burdensome. Id.




6
        Notably, prior to the “meet and confers,” the Government never asked Defendants about the
scope of the RFPs or how they should be interpreted. See McCall Decl. ¶ 18. If there was any ambiguity
whatsoever, one would have expected the Government to initiate a discussion with Defendants regarding
the scope of its production rather than unilaterally deciding to perform a “dump” of unreviewed
documents on Defendants.




                                                  15
09-01198-mew        Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32               Main Document
                                           Pg 20 of 28



                Notwithstanding the Government’s intransigence, Defendants continued efforts to

narrow the dispute. To that end, the parties began reviewing the RFPs for the information

requested by Defendants, but were only able to get through approximately 30 of them before the

meeting ended. See McCall Decl. ¶ 19. The results, however, were telling. The answer for each

RFP was essentially the same: the attorneys responsible for this case consulted with various

agencies and, based upon their interpretation of the RFP, concluded that all documents located at

certain facilities relating to certain of the environmental sites at issue in the litigation were

responsive. Id.

                On June 11, 2010, the parties held a third “meet and confer” by telephone and

continued the review of the RFPs. See McCall Decl. ¶ 20. Once again, not much progress was

made. For most of the RFPs discussed, the answers were the same as those articulated at the

June 3 meeting. Id. Furthermore, counsel for the Government acknowledged that they did not

know whether the Government had documents responsive to the following RFPs: 2-6, 9-10, 15-

18, 33, 36, 40-41, 45-52. See McCall Decl. ¶ 20. Id. The Government lawyers did not even try

to justify this failure. Id.

                In the end, both parties agreed that, in light of the fundamental disagreement

about the scope of the Government’s Rule 34 obligations, any further “meet and confers” would

be pointless. Id.

ARGUMENT

I.      THE GOVERNMENT HAS FAILED TO PRODUCE DOCUMENTS
        CONSISTENT WITH ITS DISCOVERY OBLIGATIONS UNDER RULE 34

                As noted above, the Government has failed altogether to produce documents

responsive to a significant number of the RFPs, specifically numbers 2-7, 9-13, 15-18, 21-29,

33-36, 39, 41-56, 58, 61, 63-65, and 126. The Government’s refusal to do so is inexcusable, and


                                                   16
09-01198-mew      Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32            Main Document
                                          Pg 21 of 28



it should be compelled to produce all documents responsive to all RFPs, not just the ones to

which it chooses to respond.

               In addition to its failure to produce responsive documents, the Government’s

position – that Defendants must wade through the documents stored at selected facilities, armed

only with incomplete and vague indices, in order to identify which subset of documents are

responsive to their own RFPs – is untenable. Rule 34 provides two options for a party making

documents available pursuant to Rule 34(b)(2)(E)(i) in response to a document request: “A party

must produce documents as they are kept in the usual course of business or must organize and

label them to correspond to the categories in the request.” Fed. R. Civ. P. 34(b)(2)(E)(i). Under

the circumstances presented here, in accordance with the holding of Collins, 256 F.R.D. 403, the

“usual course of business” option is not available to the Government.

               The Collins decision is directly on point. In Collins, the defendant served RFPs

seeking fifty-four categories of documents from the Securities and Exchange Commission (the

“SEC”). Id. at 406. Twenty-five of the requests targeted documents that supported factual

allegations in the complaint, like many of Defendants’ RFPs in this case. Id. at 407 n.4. In

response, the SEC produced electronic databases containing 1.7 million documents, without any

attempt to correspond any of the documents with the defendant’s RFPs. Id. at 407 & n.5. The

SEC maintained that its “production comport[ed] with the manner in which the documents are

kept in the usual course of business.”

               The court rejected the SEC’s argument, noting that the key to understanding the

availability of the two options under Rule 34(b)(2)(E)(i) is “the assumption that in either case the

documents will be organized – that records kept in the usual course of business would not be

maintained in a haphazard fashion. Thus regardless of the form chosen, the production will be



                                                17
09-01198-mew        Doc 145    Filed 07/09/10 Entered 07/09/10 16:58:32            Main Document
                                          Pg 22 of 28



useful to the requesting party, and neither choice will inject unnecessary time and cost into

litigation.” Id. at 411 (emphasis added). The court explained what it means for documents to be

“kept in the usual course of business” by referencing Federal Rule of Evidence 803(6), which

addresses “regularly conducted business activity.” The court concluded:

               By rough analogy to Rule 803(6), the option of producing documents “as
               they are kept in the usual course of business” under Rule 34 requires the
               producing party to meet either of two tests. First, this option is available
               to commercial enterprises or entities that function in the manner of
               commercial enterprises. Second, this option may also apply to records
               resulting from “regularly conducted activity.” Where a producing party’s
               activities are not “routine and repetitive” such as to require a well-
               organized record-keeping system – in other words when the records do not
               result from an “ordinary course of business” – the party must produce
               documents according to the sole remaining option under Rule 34:
               “organize[d] and label[ed] . . . to correspond to the categories in the
               request.”

Id. at 412-13 (emphasis in original). The court provided some examples of “routine or

repetitive” activities by the Government: “purchasing equipment from defense contractors,

selling maps to backpackers, and executing contracts to construct buildings.” Id. However,

according to the court, anything in the nature of an investigation or analysis is not “routine and

repetitive,” and thus, under these circumstances, a Rule 34(b)(2)(E)(i) production may not be

produced in the “usual course of business.” Id. at 408.

               [C]onducting an investigation – which is by its very nature not routine or
               repetitive – cannot fall within the scope of the “usual course of business.”
               While the SEC routinely collects and maintains regulatory submissions
               such [as] 10-K reports, in its investigative capacity the agency conducts
               tailored probes of a company or an industry, requiring the gathering of
               records from diverse sources . . . . The documents can only be provided in
               a useful manner if the agency organizes or labels them to correspond to
               each demand.

Id. at 413 (emphasis added). The court concluded that “the SEC must respond to [defendant]’s

request for production by providing him with the documents that respond to those requests.” Id.

(emphasis added).

                                                 18
09-01198-mew      Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32             Main Document
                                          Pg 23 of 28



               The holding of Collins is consistent with well-settled authority in this District and

elsewhere. See, e.g., 2 Michael C. Silberberg et al., Civil Practice in the Southern District of

New York § 22:14 (2d ed. 2009); Standard Dyeing & Finishing Co. v. Arma Textile Printers

Corp., No. 85-cv-5399, 1987 WL 6905, at *2 (S.D.N.Y. Feb. 10, 1987) (if “the state of the

corporation’s records would make it unreasonably burdensome for the discovering party to

search for the sought after documents, the burden falls on the discoveree to organize the

documents so that the discoveror may make reasonable use of them. If [the discoveree] has

failed to maintain its records in a reasonable state, it must bear the burden of searching those

available records for documents responsive to [the discoveror’s] Rule 34(b) request.” (internal

quotation marks and citation omitted)); id. (discoveree’s response to document request – which

consisted of telling discoveror that the documents were located at a textile plant – did not satisfy

discoveree’s obligations under Rule 34); Chemtex, LLC. v. St. Anthony Enters., Inc., No. 03-cv-

4263, 2004 WL 764781, at *1 (S.D.N.Y. Apr. 9, 2004) (rejecting discoveree’s offer “to bring

counsel for [discoveror] to the location where the documents are located and to allow counsel to

search for the documents” and ordering discoveree to search for responsive documents and make

them available for inspection); see also T.N. Taube Corp. v. Marine Midland Mortgage Corp.,

136 F.R.D. 449, 456 (W.D.N.C. 1991) (discoveree failed to comply with Rule 34 when it

produced documents that “were in no apparent order and were not labeled as responsive to any

particular request”); Stiller v. Arnold, 167 F.R.D. 68, 71 (N.D. Ind. 1996) (“Producing 7,000

pages of documents in no apparent order does not comply with a party's obligation under Rule

34(b)”).

               Accordingly, Defendants here need not wade through nonresponsive documents

searching for responsive ones. Nor need they be left in the dark about whether all locations



                                                 19
09-01198-mew      Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32            Main Document
                                          Pg 24 of 28



where responsive documents might reasonably be located had been searched, or whether each

and every RFP had been fully responded to (which clearly they had not). The law mandates that

the Government must organize and label responsive documents to correspond to the RFPs.

Because the Government has failed and still refuses to do so, Defendants respectfully request

their Motion to Compel be granted with respect to each and every RFP.

II.    THE GOVERNMENT’S ARGUMENT
       REGARDING THE BREADTH OF THE RFPS IS UNAVAILING

               The Government contended at the “meet and confers” that its approach to its

discovery obligations was justified by the scope of the RFPs, which, in the Government’s

opinion, are so broad as to call for all environmental site-related documents. See McCall Decl. ¶

18. This argument fails for multiple reasons.

               First, it is beyond dispute that the Government has ignored a long list of RFPs that

have nothing to do with the environmental sites. See § B, supra. The Government has no

answer whatsoever for its failure to produce documents responsive to those RFPs.

               Second, even if the environmental site-related RFPs were as broad as the

Government contends, and they are not, it does not excuse the Government’s failure to review,

sort, and label its responsive documents according to the RFPs under Collins and other

authorities. See Collins, 256 F.R.D. 403; Standard Dyeing, 1987 WL 6905, at *2; Chemtex,

2004 WL 764781, at *1.

               Third, the Government’s interpretation of the RFPs as calling for all documents

related to the environmental sites is unavailing. Defendants’ RFPs regarding environmental sites

called for specific documents, not the universe of irrelevant materials held at each storage

facility. For example, with respect to the Moss American site, Defendants requested specific

information, including documents concerning the history and alleged environmental harm caused


                                                20
09-01198-mew         Doc 145   Filed 07/09/10 Entered 07/09/10 16:58:32             Main Document
                                          Pg 25 of 28



at the site, the EPA’s investigation of the site, an alleged obligation of Kerr-McGee Chemical

Corporation to undertake certain remediation, the progress of that remediation, and the amounts

of remediation expenses that the EPA incurred and expects to incur in the future. See McCall

Decl. Ex. A (Second RFP Nos. 60, 62, 136–141). In response to these specific requests, the

Government has provided only indices of boxes, cases, and stacks of documents that do not

distinguish responsive documents from nonresponsive documents. See McCall Decl. Exs. E-1

(indices describing the number of boxes that may contain responsive documents), E-14, E-57

(indices describing the contents of documents that may be responsive), E-15–16 (indices

describing the contents of cases that may contain responsive documents). The other RFPS

addressed to environmental sites are similarly pointed. See, e.g., McCall Decl. Ex. A (Second

RFP Nos. 60, 82-86) (Soda Springs site); McCall Decl. Ex. A (Second RFP Nos. 62, 150–153)

(Toledo Tie site).

               There is no reasonable way the RFPs can be interpreted to call for documents

such as federal express tracking slips and site-wide equipment inventories. It is plain that the

Government has adopted its position with regard to the breadth of the RFPs only as an excuse to

justify its refusal to conduct a responsiveness review and other deficient efforts at production.

               As the Government has failed to comply with its obligations under Rule 34, the

Defendants respectfully request their motion be granted.

III.   DEFENDANTS SHOULD BE AWARDED THEIR
       ATTORNEY’S FEES IN CONNECTION WITH THIS MOTION TO COMPEL

               For the reasons discussed above, Defendants’ motion to compel should be

granted. Accordingly, pursuant to Bankruptcy Rule 7037, Defendants are entitled to recover

reasonable expenses, including attorney’s fees, incurred in connection with filing this motion.

Indeed, the text of Rule 37 not only authorizes, but requires, the grant of attorneys fees:


                                                 21
09-01198-mew      Doc 145      Filed 07/09/10 Entered 07/09/10 16:58:32           Main Document
                                          Pg 26 of 28



               If the motion is granted – or if the disclosure or requested discovery is
               provided after the motion was filed – the court must, after giving an
               opportunity to be heard, require the party or deponent whose conduct
               necessitated the motion, the party or attorney advising that conduct, or
               both to pay the movant's reasonable expenses incurred in making the
               motion, including attorney’s fees.
Fed. R. Civ. P. 37(a)(5)(A); see JSC Foreign Economic Ass’n Technostroyexport v. Int’l Dev. &

Trade Servs., Inc., No. 03-cv-5562, 2005 WL 1958361, at **12-13 (S.D.N.Y. Aug. 16, 2005)

(granting attorney’s fees to prevailing party in discovery dispute); Fund Comm'n Serv., II, Inc. v.

Westpac Banking Co., No. 93-cv-8298, 1996 WL 469660, at *5 (S.D.N.Y. Aug. 16, 1996)

(same). The Government should thus be ordered to pay Defendants’ attorneys’ fees in

connection with this motion.

CONCLUSION

               The Government chose to come before this Court against the Defendants seeking

hundreds of millions of dollars in damages. It has long known that its relevant documents would

be subject to production. The Government should not be granted a “free pass” here to withhold

key documents, shift the burden of discovery in a lawsuit it brought onto the backs of the

Defendants, or hide an incomplete production behind a smokescreen of indices. For the

foregoing reasons, Defendants respectfully request their motion to compel pursuant to

Bankruptcy Rules 7034 and 7037 be granted.




                                                22
09-01198-mew     Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32      Main Document
                                        Pg 27 of 28



Dated:        New York, New York                Respectfully submitted,
              July 9, 2010



/s/ Melanie Gray                                /s/ Duke McCall, III
Melanie Gray (admitted pro hac vice)            Duke K. McCall, III
Lydia Protopapas (LP 8089)                      Bingham McCutchen LLP
Jason W. Billeck (admitted pro hac vice)        2020 K Street, NW
WEIL, GOTSHAL & MANGES LLP                      Washington, DC 20006-1806
700 Louisiana, Suite 1600                       202.373.6000
Houston, Texas 77002                            202.373.6001(fax)
Telephone: (713) 546-5000                       duke.mccall@bingham.com
Facsimile: (713) 224-9511

Richard A. Rothman (RR 0507)                    James J. Dragna (admitted pro hac vice)
Bruce S. Meyer (BM 3506)                        BINGHAM MCCUTCHEN LLP
Lori L. Pines (LP 3005)                         355 South Grand Avenue, Suite 4400
WEIL, GOTSHAL & MANGES LLP                      Los Angeles, California 90071
767 Fifth Avenue                                Telephone: (213) 680-6400
New York, New York 10153                        Facsimile: (213) 680-6499
Telephone: (212) 310-8000
Facsimile: (212) 310-8007

                                                Counsel for Anadarko Petroleum
                                                Corporation and Kerr-McGee Corporation




                                           23
09-01198-mew      Doc 145     Filed 07/09/10 Entered 07/09/10 16:58:32            Main Document
                                         Pg 28 of 28



                                CERTIFICATE OF SERVICE

       I, Duke K. McCall, III, hereby certify under penalty of perjury that on July 9, 2010, in

addition to service via ECF, I caused true and correct copies of the foregoing to be served upon

the following persons, as indicated below:

Via email joseph.pantoja@usdoj.gov                Via email jonathan.henes@kirkland.com

Joseph A. Pantoja                                 Richard M. Cieri
Assistant United States Attorney                  Jonathan S. Henes
86 Chambers Street                                Kirkland & Ellis LLP
New York, NY 10007                                153 East 53rd Street
                                                  New York, NY 10022

Via email david.crichlow@pillsburylaw.com         Via email jeffrey.zeiger@kirkland.com and
                                                  jzeiger@kirkland.com
Craig A. Barbarosh
David A. Crichlow                                 Jeffrey J. Zeiger
Karen B. Dine                                     Kirkland & Ellis LLP
Pillsbury Winthrop Shaw Pittman LLP               300 North LaSalle Street
1540 Broadway                                     Chicago, IL 60654
New York, NY 100036


Via email dfriedman@kasowitz.com

David M. Friedman
David J. Mark
Ross G. Shank
Kasowitz, Benson, Torres & Friedman LLP
1633 Broadway
New York, NY 10019


                                                    /s/ Duke K. McCall, III
                                                    Attorney at Law




                                               24
